                          EXHIBIT 11
       ECU Health Finances Over Safety


    • ECU Health Medical Center Safety Grades
         • ECU Health North Safety Grades
        • Nash Hospital, Inc. Safety Grades
  • System of Care Page from PCMH 2018 Vendor
                  Policy Handbook
     • System of Care Pages from ECU Health's
                 Website as of 2023




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                                                                                             EXHIBIT
                                                                                               tl
                                                                                           CU ~nctt'\C,e.5




  ECU Health Medical Center
  2100 Stantonsburg Rd
  Greenville, NC 27834

  View this hosRital's LeaRfrog HosRital Survey Results
    This Hospital's Grade
                                                                              ~ Hide Recent Past Grades

                                                        2023               2022               2021




                                                                                   More about past grades


                                                                                       Detailed table view

                                      D Order 2½ years of detailed scoring for this hosRital for $2.95
  Learn how to use th.e Leapfrog Hospital Safety Grade




                                                                                             Doctors,
                                                    Safety               Practices
                                                                        to Preventv          Nurses & v
                                                   Problems                                  Hospital
                                                                          Errors
                                                                                              Staff




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https://www.hospitalsafetygrade.org/h/ecu-health-medical-center   Filed 06/18/24   Page 2 of 14              1/3
6/17/24, 11 :04AM                                          ECU Health Medical Center - NC - Hospital Safety Grade

           Harmful          Dangerous           Patient             Falls            Collapsed           Dangerous       Air or gas
           events             bed              falls and           causing             lung               blood          bubble in
                             sores              injuries           broken                                  clot          the blood
                                                                     hips




       Hospital Performs Worse Than Average -                      =:~~-~----_      Better Than Average



       This Hospital's Score:                        Harmful Events
                                                     Patients can experience
       1.01
                                                     complications and potentially
                                                     harmful events following a surgery, a
       Best Hospital's Score:
                                                     procedure, or childbirth. When all of
       0.55                                          these errors are examined together,
                                                     it gives a better picture of a
       Average Hospital's Score:                     hospital's ability to keep its patients
                                                     safe.
       1.01
       Worst Hospital's Score:                       This number represents the number of
                                                     times patients experienced dangerous
       2.74                                          safety-related adverse events for every
                                                     1,000 people discharged. for detait on
                                                     sou'      ·Ii ~ her
               What safer hospitals do:
               These potentially avoidable safety
               events represent opportunities for
               improving patient care. Staff should
               document when errors happen,
               discuss how the error occurred, and
               develop a plan to prevent future
               errors .




 Notes and Definitions
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 measure is related to a service the hospital does not provide. For example, a hospital that does not have an ICU would not be
 able to report data about ICUs. It could also be because the hospital had too few patients or cases to report data for a particular
 condition or procedure. A "Not Available" result does not mean that the hospital withheld information from the public.
   LE.CA, I CLA,MH rie              f ·og Hosr al Safety Gr· J s 'or 'Sh ,.,     on their ove all p, rformance in keeping patients safe from
   preventab1e harm old mediccil errors The grades are deril,.:d from expert analysis of publicly available data using up to 31 evidence-
   based, national measures of hospital safety No specific repre ,entation Is made, nor sha I be implied, nor shall The Leapfrog Group be
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         s;stem




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6/17/24 , 11 :04AM                                      ECU Health North Hospital - NC - Hospital Safety Grade




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                                                                                                                   .....
         HOSPITAL                                                                                                           •   •
         SAFETY GR~ DE                                                                                 THE LEAPFROG GROUP



   ECU Health North Hospital
   250 Smith Church Road
   Roanoke Rapids, NC 27870

   View this hosRital's LeaRfrog HosRita l Survey Results
      This Hospital's Grade
                                                                                                      'f Hide Recent Past Grades
                                                                    2023                        2022                      2021




                                                                                                           More about Rast grades


                                                                                                                 Detailed table view

                                              D Order 2½ years of detailed scoring for this hosRital for $2.95
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                                                                                                                         Doctors,
                                                               Safety                         Practices
                                                                                                                         Nurses & v
                                                              Problems                       to Preventv
                                                                                                                         Hospital
                                                                                               Errors
                                                                                                                          Staff




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                                          -health-north-hospital                  Filed 06/18/24            Page 5 of 14               1/3
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           Harmful         Dangerous            Patient              Falls           Collapsed           Dangerous       Air or gas
           events            bed               falls and           causing             lung               blood          bubble in
                            sores               injuries            broken                                 clot          the blood
                                                                     hips




       Hospital Performs Worse Than Average                                         Better Than Average



       This Hospital's Score:                        Harmful Events
                                                     Patients can experience
        1.16
                                                     complications and potentially
                                                     harmful events following a surgery, a
        Best Hospital's Score:
                                                     procedure, or childbirth. When all of
        0.55                                         these errors are examined together,
                                                     it gives a better picture of a
        Average Hospital's Score:                    hospital's ability to keep its patients
                                                     safe.
        1.01
        Worst Hospital's Score:                      This number represents the number of
                                                     times patients experienced dangerous
        2.74                                         safety-related adverse events for every
                                                     1,000 people discharged. For detuif_ Jn
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                What safer hospitals do:
                These potentially avoidable safety
                events represent opportunities for
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     GA, [. ISCLA Mt:    1e    o ·og Ho ,p'tal Safety Grade ,cores t Iosp s n their overall performance in keeping patients safe from
   preve,tab1e harm ard medical errors he grades are derived from expert analysis of publicly available data using up to 31 evidence-
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                                                 -north-hospital                     Filed 06/18/24            Page 6 of 14                   2/3
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 6/17/24, 11 :04AM                                              Nash Hospitals, Inc. - NC - Hospital Safety Grade




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          HOSPITAL                                                                                                        .....
                                                                                                                                   •   •
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     Nash Hospitals, Inc.
     2460 Curtis Ellis Drive
     Rocky Mount, NC 27804-2237

     View this hosRital's LeaRfrog HOSP-ital Survey Results
        This Hospital's Grade
                                                                                                            'f' Hide Recent Past Grades
                                                                         2023                          2022                      2021




                                                                                                                    More about Rast grades


                                                                                                                        Detailed table view

                                                       D Order 2½ years of detailed scoring for this hosRital for $2.95
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                                                                                                                                Doctors,
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6/1 7/24, 11 :04 AM                                                 Nash Hospitals, Inc. - NC - Hospital Safety Grade
            Harmful            Dangerous             Pat ient              Falls            Collapsed           Dangerous       Air or gas
            events               bed                fal ls and           causing              lung               blood          bubble in
                                sores                injuries             broken                                  clot          the blood
                                                                           hips




                                                                                          Better Than Average



        This Hospital's Score:                              Harmful Events
                                                            Patients can experience
        0.93
                                                            compl ications and potentia lly
                                                            harmful events following a surgery, a
        Best Hospital's Score:
                                                            procedure, or childbirth. When all of
        0.55                                                these errors are examined together,
                                                            it gives a better picture of a
        Average Hospital's Score:                           hospital's ability to keep its patients
                                                            safe.
        1.01
        Worst Hospital's Score:                             This number represents the number of
                                                            times patients experienced dangerous
        2.74                                                safety-related adverse events for every
                                                            1,000 people discharged. F ,r detail .r
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    Our system of care today



                                       -
                              ffl
                              1,000+ Medical staff




     fllMlt~
     ----.11
                                                     92
                                                   V1dant Beaufort
                                                                                                     92
                                                                                                  V1dant Roanoke-
                                                      Hospital                                    Chowan Hospital
         Ambulatory                                                                                                                    Home health
       surgery facilities                                                                                                                services




                                   92
                                   V1dant Bertie
                                                                                                                    92
                                                                                                               The Outer Banks
                                     Hospital                                                                      Hospital
                                                                     Patient and family




           Vidant
        Medical Group
                                                     92
                                                   Vidant Chowan
                                                                                                     92
                                                                                                  Vidant Edgecombe                     Partnerships
                                                      Hospital
                                                                          92
                                                                     VidJnt Duplin Hospital
                                                                                                       Hospital




                              5 Foundations and
                                3 development
                                   councils                                                                         Hospice care


                                                                      Fitness/wellness
                                                                           centers




      12,000 + team members                                                          Serving 1.4 million people in 29 counties
:(. . 8 hospitals                                                                     1/3 of North Carol ina
':>(_ • 85 t physician practices                                             ..::j_ • 1.6 bi llion in net patient revenue annua lly
    • Outpatient, home health and hospice                                    -'d" • Integrating with Brody School of Medicine at ECU
      Air and ground critical care transport




                                                                                                                                      Vidant Health 17

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       ECU Health Wellness Centers


       Define you r fit ness goals and achieve your optimal health with us.


         LEARN MORE (H TTP S://LOCATIONS.ECUHEALTH.ORG/?T YPE=SO)




  Facts & Figures

  We are a mission-driven health system serving more t han 1.4 million people in 29 counties. As a lifelong partner in health services and education,
  we empower our patients to live health ier, happier lives. Below is just a snapshot of what makes us, us:




                                                                          1,708
                                                                          Licensed Beds



       $2,514,916,000                                                                                             62,717
       4l-    Net Operating Revenue                                                                               Admissions




         14,000+                                                                                                              432,010
   t    Total Employees                                                                                                       Outpatient Visits




                              6,364                                                                               259,133
                                                                                                                  Emergency Visits



                                                                       698
                                                                       Open Heart Surgeries


  *Fiscal year 2023, updated annually



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https://www.ecuhealth.org/about-us/system-of-care/          Document 33-13                Filed 06/18/24         Page 12 of 14                          4/6
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  Economic Impact




  $4BILLION
  to North Carolina 's gross state product


  *Source: FY 2021 data




  *Source: FY 2023 data, updated annually




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https://www.ecuhealth.org/about-us/system-of-care/   Document 33-13       Filed 06/18/24    Page 13 of 14   5/6
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  System of Care
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  Get to know ECU Health's award-winning facilities.

  Across eastern Nort h Carolina, we're there fo r you. ECU Health's syst em of care includes 1,708 beds across an academic medical cent er with t wo
  campuses, and is a teaching hospital fo r the Brody School of Medicine at East Carolina University; eight community hospitals; and numerous
  outpat ient f acilities, home health, hospice and wel lness centers. Th e system has more than 1,100 academic and com munity providers practici ng
  in over 185 primary and specialty clinics locat ed in more than 110 locat ions.




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                TENNESSEE                                                                             • Or..wbol'O


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                                                             SOUTH CAROLINA
                 GEORGIA                                                                                                 Wllrnlrllltllf\ •
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   (https://www.ecuhealth.org/wp-content/uploads/2024/ 04/Map-v2.jpg)

   ABOUT ECU HEALTH (HTTPS://WWW.ECUHEALTH.ORG/ ABOUT-US/)


    Overview



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